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                          PROCEEDINGSAFICE
                                        OP TIIK
                                                               MAYOR'S
                                                                       .
             BOARD               OF             ALDERMEN
                                        OF THE




                  CITY OF NEW YORK                             .




                            From January 7 to March26, 1878.




                                  VOL . CXLIX .




                                             al



                                    New York :
            MARTIN   B.   BROWN ,     PRINTER          AND STATIONER
                          201,9 203 & 205 WILLIAM STREET .

                                       1878 .
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                                                            59                            [ January 7.
                By Alderman         Morris

                                            AN ORDINANCE
                TO    REGULATE       THE    CARRYING             OF   PISTOLS IN           THE   CITY OF

                                                    NEW YORK .


                     Whereus ,     In a large       portion of the arrest made by the
               police for disorderly conduct or intoxication , the persons

               so arrested    are found to have on them                           at the time a pistol
               of some     kind ,    and as the records of the                        criminal     courts
               will show that         in    the     largest portion                of the arrests for
               murder or felonious                assault        the criminal             claims he was
               drunk , and was , therefore , unfit to carry any weapon                                      of
               any kind , particularly             as the         majority         of those      arrested

               are twenty - five      years of         age ,       and       as     such    persons        are
               always ready and willing to insult respectable                               citizens , and
               draw a pistol on any and every occasion , while the better
               and     law -abiding
                                class try to obey the laws and protect
               themselves with nothing  but nature's weapons ; therefore ,

               be it ordained by the              Mayor, Aldermen , and Commonalty
               of the City of New York , in Common Council convened ,
               as follows :



                 SECTION      1.    Every person , except Judges of the Federal ,
               State, and Municipal governments , authorized by law to
               make arrests , and persons to whom permits shall have been
                                                                                                  of his




               issued , as hereinafter        provided , who shall have in                                 pos
                                             City     New York       pistol                                any
                                                       his of




               session     within     the
                       ,




                                                                                  ,
                                                                                      a
                                                  on




               description                                                        not carried openly
                                                                             or




                                 concealed                      person
                            ,




                                                                                                            ,
                                                                         ,
ase 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 3 of



            January                 7. ]
                                                                       60


            shall be deemed                      guilty of a misdemeanor , and shall                                      be
            punished , on conviction , by a fine not exceeding ten                                                    dol
            lars, or  default of payment of such fine , by imprison
                            in

            ment not exceeding ten days .


               SEC . 2.          Any person , except                        as    provided in            section      1 of

            the ordinance , who                       has         occasion        to carry a pistol for his
            protection , may apply to the officer in command at the
            Station -house of the                       Precinct where he resides , and such
            officer , if satisfied               that the applicant is a
                                                                       a proper and law

            abiding         person , shall give said                             person a recommendation

            to the Superintendent                         of      Police , or the               inspector       in    com
            mand at the Central Office in the absence of the Superin
            tendent , who shall issue                         a    permit to the said person                         allow
                    him




            ing                     carry           pistol             any description
                                                                  of
                               to



                                                a




                                                                                                 .
                                           at




               Sec                              the time                                               pistol         any
                               If




                                                                    of




                                                                            the arrest
                                                                                                                 of
                          3.

                               ,




                                                                                                a
                   .




                                                                                           ,




            description shall
                                                 be




                                                                                                the person
                                                                                           on




                                                                                                                          or

                                                        found
                                                                                                                     of


                                                                       concealed
                                                                                                                     ,
                                                                                            for
                                                     by




            not carried openly                            any one arrested                          disorderly con
                                                     ,




                                                                  officer making
                       or




            duct            intoxication                the                                      the     arrest shall
                                                    ,




            state such fact                         the Police           Magistrate before whom the
                                            to




            prisoner                brought           and         shall make               separate        complaint
                            is




                                                 ,




                                                                                       a




            against such prisoner for violation
                                                                                  of




                                                                                       this ordinance
                                                                                                                .




                                 This ordinance shall take effect immediately
                          4.




              SEC
                   .




                                                                                                                     .




                                                                                                       Law Depart
                                                                                                  on




              Which was referred                                   the Committee
                                                          to




            ment when appointed
                   ,




                                                      .
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                                                         367                   [ February                12 .

                                                     (G. 0. 43. ))

                   The Committee                 on Law       Department , to whom                    was

              referred          the       accompanying          communication                from        the

              Counsel to the Corporation , with an ordinance to regulate
              the carrying             of pistols in the City of New York , respect
              fully
                                                     REPORT :

                   That        the    ordinance so submitted by the Counsel to the
              Corporation             was considered and amended                by your Honor
              able Body at a meeting held on the 23d of October , 1877 ,
              and before reference to your Committee .

                   As your            Honorable       Body did not indicate what other

              amendments , if any , were necessary or desirable , or give
              your Committee any instruction , and as the ordinance was
              originally prepared by the law officer of the city , it is fair
              to presume that it is perfect .

                   As   the necessity for the passage of the ordinance
                          to
              there can be no question . The reckless use of fire -arms by
              the dangerous classes in this city is proverbial, and this
              measure of repression seems to be necessary .                                 Your Com
                                                                                      the




              mittee therefore respectfully                                                 adoption
                                                                                                           of




                                                              recommends
              the ordinance
                                      .




                                                AN ORDINANCE
              TO    REGULATE              THE    CARRYING      OF    PISTOLS    IN     THE     CITY       OF
                                                     NEW    YORK
                                                                    .




                                                                                                    by




                                                large portion
                                      In




                                                                 of




                   Whereas                                              the arrests     made             the
                                ,

                                           a




              police for disorderly                                                         the persons
                                                                or




                                                    conduct          intoxication
                                                                                      ,
ase 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 5 of 1


               February 12. ]                                     368


               so arrested          are found to have on them                           at the time a pisto ]

               of some kind , and as the records of the criminal courts will
               show that in the largest portion of the arrests                                      for murder
               or felonious assault the criminal claims he was drunk , and
               was , therefore ,, unfit                     to    carry any weapon                  of any kind ,
               particularly         as the majority of those arrested are                                    twenty
               five years of age , and as such persons are always ready and
               willing       to insult respectable citizens , and draw a pistol on
               any and every occasion , while the better and law abiding                                  -
               class try to obey the laws and protect themselves with
               nothing but nature's weapons ; therefore be it ordained by
               the Mayor , Alderman , and                                Commonalty           of the City of
               New     York , in Common                      Council convened , as follows :


                 SECTION 1.                Every person , except judges of the Federal ,
               State , and municipal                        governments , authorized by law to

               make arrests , and persons to whom permits shall have been
               issued , as hereinafter provided , who shall have in his pos
                                                                                                               any

                                                                                                                      de
                                                the




                             within                   City            New York              pistol
                                                                 of




                                                                                                        of




               session
                                                                                        a




               scription                                     his person                 not carried openly
                                                                                   or
                                                       on




                                  concealed
                           be ,




                                                                              ,




                                                                                                                      be ,



                                                 guilty
                                                                    of




               shall              deemed                               misdemeanor              and shall
                                                                                          ,
                                                                 by a




               punished                                                                 not exceeding
                                   in on




                                           conviction                         fine                                   ten
                              ,




                                                            ,


                                                                         a




                                                                                                    by




                                       payment                                                           imprison
                           or




                                                       of




                                                                              of




               dollars      default                                                such fine
                       ,

                           ,




                                                                                                ,




               ment not exceeding  ten days
                                                                   .




                                  Any                                         provided
                                                                                                                      of




                                                            except
                                                                         as




                                            person
                                                                                              in




                                                                                                    section
                           2.




                 SEC
                                                                                                                1
                                                       ,
                       .




               the     ordinance who has occasion     carry   pistol for his
                                                                              to
                                      ,




                                                                                            a




                                                                                                               at




               protection     may apply                                  the
                                                             to




                                           the officer      command
                                                                                     in
                             ,




                                                the precinct where
                                                                                     he
                                           of




               station house                                                              resides        and    such
                                                                                                    ,
                         -
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                                                                    369
                                                                                              [ February 12 .

                officer,     if satisfied that the applicant is a proper and




                                                                                                                             law
                abiding person              shall give said person                       recommendation




                                                                                                                              to
                                                                                    a
                                        ,
                the Superintendent                          Police             the inspector




                                                                          or
                                                      of
                                                                                                              command




                                                                                                         in
                                                                     ,
                at



                     the Central Office                                                 the Superintendent




                                                        in




                                                                                   of
                                                                 the absence




                                                                                                                             ,
                                                  permit                the said person allowing him




                                                                   to
                who shall issue

                                             a




                                                                                                   ,
                     carry        pistol              any description
                to




                                             of
                             a




                                                                               .
                                                                                                       pistol
                              If


                  Sec                                                                                                       any



                                                                     of
                                                 the time
                                        at
                            3.




                                                                          the arrest




                                                                                                                   of
                                                                                              a
                              ,




                                                                                         ,
                        .




                description shall
                                                 be

                                                                                                       person




                                                                                     on




                                                                                                                              or
                                                      found concealed




                                                                                                                      of
                                                                                             the




                                                                                                                      ,
                                                      by


                not carried openly                          any one arrested for disorderly                                 con
                                                      ,



                                                           the officer making
                        or




                duct         intoxication                                                        the arrest shall
                                                  ,




                state such fact                            police magistrate before whom the
                                            to




                                                 the
                prisoner              brought          and shall make                    separate             complaint
                              is




                                                 ,




                                                                                 of a
                against such prisoner for violation                                 this ordinance




                                                                                                                 .
                     SEC          This ordinance shall effect immediately
                             4.
                        .




                                                                                                            .
                                                                 WAEHNER                               Comiittee
                                             J.
                                                       C. . C.




                                                                                   ,




                                                 GEO              HALL                                        ON
                                                                          ,




                                                                 PINCKNEY                    Law Department
                                             J.




                                                                                   ,




                                                                                                                             .
                                                                                        )




                     Which        was laid over
                                                           .
                                                      on




                     The Committee                         Salaries and            Offices                              were
                                                                                                       to




                                                                                                            whom
                                                                                              ,




                referred              different times resolutions                                                  appoint
                                 at




                                                                                                            of




                                                                                             favor
                                                                                        in




                ing sundry                                                                                         respect
                                                       as




                                      persons
                                                                                            of




                                                                 Commissioners                     Deeds
                                                                                                            ,




                fully
                                                                 REPORT

                For your adoption the following resolution
                                                                                                   :




                                                      the following named                        persons
                                                                                                                    in be




                     Resolved           That                                                                                and
                                  ,




                                                                               -




                they are hereby appointed Commissioners
                                                                                                 of




                                                                                                       Deeds                and
ase 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 7 of 1




                                         19.
            Ferruary                                                460




                                         ]
                 The President put the question whether the Board would
            agree with said resolution




                                                                .




                                                                                                on
                Which                                            the affirmative                        division        viz




                                                            in
                                was decided




                                                                                                                    ,
                                                                                          ,

                                                                                                    a




                                                                                                                            :
                                                                                                                            .
                 AFFIRMATIVE- The President Aldermen                                                     Biglin          Car




                                                                                                                    ,
                                                                           ,
             roll         Ehrhart          Gedney               Guntzer           Hall         Jacobus Keenan




                                                                                                          ,
                                                                          ,




                                                                                                                              ,
                ,




                                                                                          ,
                                                           ,
                                     ,




             Kiernan Lewis Morris Perley                                    Phillips Pinckney Slevin




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                                         -- ,
                                                17




             and Waehner
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                                                                    up


                 Alderman                Morris called

                                                                G. O. 43
                                                                                 ,
                                                                                 as




             being            preample and ordinance                                  follows
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                                                                                                    :
                          a




                                                                                                                    by
                                                   large portion
                                                                           of




                                                                                                                            the
                                         In




                     Whereas                                                      the arrests made
                                ,

                                               a
                              for




                                                                                                             the


             police                 disorderly conduct
                                                                         on or




                                                                                 intoxication                       persons
                                                                                                     ,




                                                                                                                        pistol
             of so




                     arrested are found                         have             them           the time
                                                           to




                                                                                           at




                                                                                                                   a
                                                     as




                                                                                     of




                     some kind            and               the records                   the criminal              courts
                                                                                                                              ,
                                     ,




                                             the largest portion
                                                                                               of




             will show that                                         the arrests for
                                               in
                               or




             murder                  felonious assault the criminal claims he was

             drunk            and was                                             carry any weapon                          any
                                                                            to




                                                therefore unfit
                                                                                                                       of
                      ,



                                           ,




                           particularly                     the majority                                 arrested are
                                                                                          of
                                                      as




             kind                                                                              those
                     ,




                                                                                                              are




             twenty five years                                          such persons                                always
                                                   to of




                                                                         as




                                                       age      and
                          -




                                                             ,




             ready and willing                             insult respectable citizens                       and draw
                                                                                                         ,
                               on




                pistol               any and every occasion                           while          the better and
                                                                                 ,
            a




                                                    try




                          biding class                          obey the laws and protect them
                                                           to




             law
                     -a




             selves with nothing but nature's weapons
                                                                                                                         be




                                                                                                     therefore
                                                                                                                              of it
                                                                                               ;
                                    by




             ordained                    the Mayor                Aldermen                and Commonalty
                                                            ,




                                                                                  ,
ase 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 8 of 1



                                                                  461                            [ February 19 .

              the City of New York, in Common Council convened , as
               follows :


                 SECTION 1. Every person , except judges of the Federal ,
                    ,
               State and municipal governments , authorized by law to

              make arrests , and persons to whom permits shall have been




                                                                                                                of his
               issued , as hereinafter provided , who shall have in                                                      pos
                               within the City                             New York
                                                                of
               session                                                                                pistol             any




                                                                                                 a
               description                                    his person                    not carried openly
                                                         on




                                                                                      or
                                     concealed
                                ,




                                                                                  ,




                                                                                                                          be ,
                                                guilty
                          be




                                                             by of

               shall           deemed                                      misdemeanor                 and shall




                                                                                                 ,
                                                                 of aa a
                                    on




               punished                  conviction                    fine not exceeding ten dollars




                                                                                                                          ,
                                                         ,
                               ,




                                                                                                 by
                                               payment                                                 imprisonment
                    in
               or




                                          of




                          default                                          such fine
                                                                                       ,
               ,




               not exceeding ten days
                                                       .




                                    Any person




                                                                                                                          of
                                                           except                provided               section
                                                                            as




                                                                                                  in
                              2.




                    SEC



                                                                                                                     1
                                                       ,
                       .




                                                                                      carry            pistol for his
                                                                                 to




               the ordinance              who has occasion
                                                                                                 a
                                      ,




               protection            may apply                                                   command         at      the
                                                           to




                                                                                        he in




                                                                the officer
                               ,




                                               the precinct
                                         of




               station house                                               where                resides        and such
                                                                                                         ,
                          -




               officer             satisfied that the applicant                                  proper        and       law
                          if




                                                                                      is
                       ,




                                                                                      a




               abiding person shall give said person                                             recommendation
                                                                                           a
                                         ,




                    the Superintendent                          Police                the inspector                      com
                                                                                 or
               to




                                                         of




                                                                                                                in
                                                                            ,




               mand             the Central Office                                                      the Superin
                          at




                                                                                                  of




                                                                           the absence
                                                                     in




                                                                permit                the said person              allow
                                                                                 to




               tendent who shall issue
                          ,




                                                           a




               ing him               carry         pistol            any description
                                to




                                                                of
                                               a




                                                                                                 .
                                                                     of




                                                                                                       pistol
                                    If




                    Sec                         the time                                                                 any
                                          at
                               3.




                                                                            the arrest
                                                                                                                 of
                                                                                            a
                                    ,




                                                                                            ,
                       .




               description shall
                                                be




                                                                                       on




                                                                                                       person
                                                                                                                   of




                                                     found concealed
                                                                                                                          or




                                                                                                the
                                                                                                                   ,
                                                                                                for
                                                   ,by




               not carried openly                        any one arrested                             disorderly         con
                                                       the officer making
                       or




               duct            intoxication                                                       the arrest shall
                                                   ,
ase 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 9 of



             February 1 ]        :.             462


             state such fact to the police        magistrate before whom the
             prisoner is brought , and shall make a separate             complaint
             against such prisoner for violation of this ordinance .

               SEC . 4.    This ordinance shall take effect immediately .

               The President put the question whether the Board would
             agree with said ordinance .

               Which was decided in the affirmative , on a division , viz . :

               AFFIRMATIVE            President, Aldermen Biglin , Car
                                      — The

             roll , Ehrhart , Gedney , Hall, Jacobus , Keenan , Kiernan ,
             Lewis , Morris, Perley , Phillips, Pinckney, Slevin , and
             Waehner—          16 .




                     MOTIONS AND RESOLUTIONS              AGAIN   RESUMED .



               Alderman Pinckney moved that the Board do now
             adjourn .


               The President put the question whether the Board would
             agree with said motion .

               Which was decided in the affirmative .

               And       the     President    announced    that the Board     stood

             adjourned until Tuesday , February             26 , 1878 , at 2 o'clock
             P. M.

                                               FRANCIS J. TWOMEY ,
                                                                           Clerk .
ase 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 10 of 1



            March 12 .                                                       612




                                      MOTIONS AND RESOLUTIONS                                  RESUMED .



            By Alderman Morris

                                                         AN ORDINANCE
            TO AMEND AN ORDINANCE ENTITLED “AN ORDINANCE TO REGULATE
                 THE CARRYING OF PISTOLS IN THE CITY OF NEW YORK , " PASSED
                 FEBRUARY 28, 1878.




                                                                                                                     the
                 The Mayor , Aldermen , and Commonalty                                                      of               City
            of




                                                   do




                 New York                                   ordain                 follows
                                                                              as
                                           ,




                                                                                               :
                                                                       of




                                           Section                           the above entitled ordinance




                                                                                                                               is
                                      1.




                 SECTION
                                                               2




                                                                                          -
                                                    by




            hereby amended                                  adding thereto
                                                                                          at



                                                                                               the end thereof the
            following   Any non resident who does business                                                                   the

                                                                                                                        in
                                 “




                                                                   -
                                 :




            City    New York and has occasion      carry                                                                pistol
                      so in of




                                                                                                   to
                                                     ,




                                                                                                                    a

            while                said city               must make application                          for permission
                                                 ,




                                                                                                                              of
                                                                   in
            to



                                 to




                                                                                       of




                 do                   the officer                       command               the station house
                                                                                                                -
                                                                                he




            the police precinct
                                                          in




                                                                                                                     , in
                                                                                     so




                                                                   which                  does      business                 the
                                                                                                                 ,
                                                                              by




                                                                                                                city
                                                                                                   of




                                                         required                                                            and
                                            as




            same manner                                                            residents            said
                                                 to is




                              subject
                       be




            shall                                        the same              conditions          and     restrictions
                                                                                                                             ."




                                  Section                          of the       above entitled            ordinance
                            2.




                 SEC
                                                                                                                               is
                                                         or by 3




                                                                                       -
                      .




            hereby           amended                               striking therefrom                   the words            for
                                                                                                                        "




            disorderly            conduct                          intoxication
                                                                                    .”
                                                                   of




                                                                                                                               as




                                   Section                               said      ordinance            shall       read
                            3.




                 SEC
                                                         4
                      .




            follows
                          :




                                                                                of




                           The Commissioners                                          Police                         Police
                                                                                                    of




                                                                                                           the
                    4.
             §




            Department                          the City                     New York are hereby author
                                                                        of
                                           of
Case 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 11 of 1



                                                                     613                          [ March 12 .

                 ized and empowered , for reasons appearing to be satisfac
                 tory to them , by a vote of a majority of a quorum of said
                 Commissioners on ayes and noes , to annul or revoke any
                 permission             given       under         this ordinance .             All persons to
                 whom such permission shall be given are hereby declared
                 to be individually responsible for their own acts , or the
                 consequences   that may arise from the use of pistols
                 carried under the permission to be obtained as provided in
                 this ordinance .

                      SEC . 4. Section 4 of said ordinance                               shall be numbered

                 section 5 , so that said ordinance                              when so amended shall
                 read as follows :


                                                    AN ORDINANCE
                 TO      REGULATE         THE        CARRYING           OF      PISTOLS      IN THE CITY           OF
                                                              NEW YORK .


                         Whereas ,       In a large portion of the arrests made by                                the
                                 for




                 police                disorderly conduct                                                persons
                                                                        on or




                                                                                intoxication       the
                                                                                               ,




                                                                                                             pistol
                                                                                        at
                 of so




                         arrested are found                      have           them         the time
                                                            to




                                                                                                         a




                                  kind
                                                      as




                                                                                   of




                         some                and             the records                the criminal         courts
                                         ,




                 will show that                      the largest portion
                                                                                          of




                                                                                               the arrests for
                                              in




                                                                                                         he
                                  or




                 murder                 felonious           assault the criminal               claims             was
                 drunk           and was therefore unfit                          carry any weapon                any
                                                                             to




                                                                                                             of
                                                                 ,
                             ,




                                             ,




                                                            the majority
                                                                                    of




                             particularly                                                          arrested are
                                                      as




                 kind                                                                     those
                         ,




                 twenty five years                                              such persons are always
                                                                        as




                                                       age
                                                   to of




                                                                 and
                                                            ,,
                             -




                 ready and willing                         insult respectable citizens                and draw
                                                                                                  ,
                                  on




                     pistol            any and every occasion                       while      the better and
                                                                                ,
                 a
ase 1:22-cv-00986-GTS-CFH Document 49-20 Filed 10/13/22 Page 12 of 1




                                 12.
             March                                               614




                                  ]
                                       I
                        biding class try  obey the laws and protect them




                                                      to
             law
                  -a

                         with nothing but nature's weapons therefore




                                                                                                                     be
             selves




                                                                                                                           of it
                                                                                            ;
                              of by
             ordained                  the Mayor               Aldermen             and Commonalty




                                                         ,




                                                                               ,
             the City              New York                     Common Council convened




                                                      in




                                                                                                                           as
                                                       ,




                                                                                                                   ,
             follows
                         :




                                        Every person                 except judges




                                                                                                of
                                                                                                      the Federal
                                  1.




                  SECTION




                                                                                                                          ,
                                       city                     ,                                             general




                                                                                            of
             State       and                     courts         and         officers                 the




                                                                                                                           to ,
                                                          ,




                                                                                                           by
             State and municipal governments authorized      law
                   ,




             make arrests and persons  whom permits shall have been           ,
                                                               to
                                  ,




                                 hereinafter provided                    who shall have                       his pos




                                                                                                        in
                            as




             issued
                     ,




                                                                     ,




                             within the City                            New York                    pistol           any
                                                                of




             session




                                                                                                                of
                                                                                            a
                                                        on




             description                                                                 not carried openly
                                                                                    or


                                       concealed               his person
                              ,




                                                                               ,




                                                                                                                           be ,
                                                guilty
                        be




                                                                by of




             shall           deemed                                     misdemeanor                  and shall
                                                             of a a




                                                                                                ,
                                  on




             punished                   conviction                   fine not exceeding ten dollars
                            ,




                                                       ,




                                                                                                                          ,
                                                                                            by




                                                payment                                              imprisonment
             or




                                           of




                        defanlt                                         such fine
                   in




                                                                                    ,
             ,




             not exceeding ten days
                                                      .




                                  Any person               except             provided
                                                                                                                          of
                                                                         as




                                                                                                      section
                                                                                                in
                            2.




                  SEC
                                                                                                                     1
                                                      ,
                     .




                                                                                   carry             pistol for his
                                                                              to




             the ordinance who has occasion
                                                                                             a
                                       ,




                                  may apply                                                                          the
                                                                                                                at




             protection                                                                     command
                                                          to




                                                                                    he in




                                                               the officer
                             ,




                                              the precinct
                                        of




             station house                                              where               resides and such
                                                                                                      ,
                        -




             officer             satisfied that the applicant                               proper           and     law
                        if




                                                                                   is
                     ,




                                                                                   a




            abiding person shall give said person                                            recommendation
                                                                                       a
                                        ,




                                                                                                                         com




                  the Superintendent
             to




                                                               Police              the inspector
                                                                              or
                                                        of




                                                                                                             in
                                                                        ,




                                                                                                     the Superin
                                                                 in




            mand             the Central Office
                        at




                                                                                                of




                                                                        the absence
            tendent who shall issue                            permit              the said person allow
                                                                              to
                        ,




                                                           a




            ing him               carry             pistol              any description                 Any non
                             to




                                                                of
                                                a




                                                                                                 .
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                                                               615
                                                                                                   [ March 12 .

               resident who does business in the City of New York , and
               has occasion to carry a pistol while in said city , must make




                                                                                                                    com
               application for permission to do so to the officer in
                           of
               mand             the station house                   the police precinct




                                                               of




                                                                                                         in
                                                                                                              which


                                                   -




                                                                                                                     by
                he
                      so




                           does business                                                           required


                                                    in
                                                         the same manner




                                                                                         as
                                                                                              is
                                              ,
                                       said city                                    subject




                                                                               be
                                  of


               residents                and shall




                                                                                                    to
                                                                                                         the same

                                                    ,
               conditions and restrictions

                                                           .
                                  If
                                        at




                                              the time                                         pistol              any
                                                                of




                                                                                                              of
                    SEO                                              the arrest
                             3.

                                  ,




                                                                                         a
                                                                                         ,
                       .




                                                                                    on
               description shall
                                              be




                                                    found concealed                      the person




                                                                                                                     or
                                                                                                               of
                                                                                                               ,
                                                   ,by




               not carried openly                        any one arrested the officer making


                                                                                    ,
               the arrest shall state                                             the police magistrate
                                                                             to
                                                         such fact
               before whom                 the prisoner                  brought         and shall make
                                                                is




                                                                                    ,




                                                                                                                     of a
               separate         complaint           against such prisoner for violation
               this ordinance
                                       .




                                                                          of




                                                                                              of


                                  The Commissioners                            Police                the      Police
                             4.




                    SEO
                       .




                                            the City            New York are hereby author
                                                           of




               Department
                                       of




                                                                                                     be




               ized and empowered                     for reasons appearing
                                                                                              to




                                                                                  satisfac
                                                   ,
                                        by




               tory                                           majority     quorum
                                                          of




                                                                                    of




                                                                                                            of
                       to




                            them                   vote                               said
                                  ,

                                            on a




                                                            a




                                                                                         a




                                                   ayes and noes                                    revoke any
                                                                                              or
                                                                             to




               Commissioners                                                      annul
                                                                         ,




               permission          given           under this ordinance                       All persons
                                                                                                                     to
                                                                                     .




               whom such permission shall                                given are hereby declared
                                                                    be




                           individually responsible for their own
                     be




                                                                                                              or
               to




                                                                                                    acts           the
                                                                                                     of ,




               consequences             that may arise from the use                                           pistols
               carried under the permission
                                                                          be




                                                                                                    provided
                                                                    to




                                                                                                                    in
                                                                                               as




                                                                               obtained
               this ordinance
                                       .




                 Sec              This ordinance shall take effect immediately
                            5.
                       .




                                                                                                               .
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             March 12 .                    616


                The President put the question whether the Board would
             agree with said ordinance .

                Which was decided in the affirmative , on a division , viz .:

                AFFIRMATIVE
                              -
                              — The     President,     Aldermen        Bennett ,
             Biglin , Carroll, Ehrhart , Foster , Gedney , Guntzer, Hall ,
             Jacobus, Kiernan , Lewis , Morris , Perley, Phillips,
             Pinckney, Sauer , and Slevin — 17 .



             By Alderman Pinckney

               Resolved ,   That gas -mains    be laid , lamp -posts   erected ,

             and street -lamps lighted in Depot place , between Sedgwick
             avenue and the railroad depot at Highbridge station , under
             the direction of the Commissioner of Public Works .

               Which was referred to the Committee on Public Works .


             By Alderman Gedney


               Resolved , That the sidewalks on the south side of Fifty
             ninth street , between Madison and Fifth avenues , and on
             the north side of Fifty -eighth street , between Madison and
             Fifth avenues , be flagged full     width , where not already
             done , under the direction of the Commissioner        of Public
             Works ; and that the accompanying ordinance therefor be
             adopted .

               Which was referred to the Committee on Public Works .
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                                                      3

               An ORDINANCE

                      to regulate the carrying of pistols in the City
                           of New York                        ... 59 , 367 , 460 , 612
                      to amend chapter 37 of the ordinances                  of
                           1866 , relative to carts and cartmen , etc. ,              104 ,

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                         and side - curtains                            121 , 365 , 456

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                     to prevent     accidents to persons           in    small
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                     to amend an ordinance relative              to blasting
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                     to amend chapter XLV . of                 the Revised
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                                    Gunther
                                                 K




                     Ackerman
                                                      ..




                                                                                      630
                                ,




                                                                            ,
                                       ...




                     Alt William                                            116       273
                       ,




                     Angerman       Michael                                           625
                                ,



                                                .




                     Archibald Carson             .....                     326 370
                                                G




                                                                                  ,
                                ,




                     Armstrong            D'Arcy
                                     G.




                                                                                      546
                                                      ..
                                ,




                     Baaden     Casper                                                171
                                          A
                            ,
